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                IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE
_________________________________________
                                          )
In re:                                    )   Chapter 11
                                          )
PES HOLDINGS, LLC, et al.,                )   Case No. 19-11626 (LSS)
                                          )
                  Debtors.                )   (Jointly Administered)
_________________________________________ )
                                          )
PES HOLDINGS, LLC, et al.,                )
                                          )
                                          )
                  Plaintiffs,             )
                                          )
                  -and-                   )   Adversary Proceeding
                                          )
ICBC STANDARD BANK PLC,                   )
                                          )
                  Intervenor-Plaintiff    )
                                          )
                  v.                      )   Case No. 20-50454 (LSS)
                                          )
ALLIANZ GLOBAL RISKS US INSURANCE         )
CO., et al.,                              )
                                          )
                                          )
                  Defendants.             )
_________________________________________


     MOTION FOR PARTIAL SUMMARY JUDGMENT ON PLAINTIFFS’ PROPERTY
                           DAMAGE CLAIMS

           The Insurers,1 the defendants in this adversary proceeding, respectfully move for partial

summary judgment on plaintiffs’ claims for property damage. The grounds for this motion are

fully set forth in the Memorandum of Law filed contemporaneously herewith.


Dated: September 20, 2021


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    The Insurers submitting this Motion are listed on Annex 1 attached hereto.

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